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                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                     PORTLAND DIVISION


UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )                           3:15-cr-00438-JO
                                                      )
        V.                                            )                                     ORDER
                                                      )
WINSTON SHROUT,                                       )
                                                      )
                      Defendant.                      )
                                                      )

       This matter is before the comt on defendant's emergency motion to postpone self surrender

pending designation of institution[# 176]. On October 22, 2018, I sentenced defendant to serve a

term ofincarceration at an institution to be designated by the Bureau of Prisons. I ordered defendant

to self surrender directly to the designated institution. Due to circumstances outside defendant's

control, the Bureau of Prisons has not designated an appropriate. Accordingly, defendant's motion

is GRANTED.

       The Marshal Service will alert the court and defendant at the time the Bureau of Prisons

designates an institution. The comt will assign defendant's self surrender date at that time.

       IT IS SO ORDERED.

       DATED this 1Go,-day ofNovember, 2018.




I      ORDER
